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1

2                           UNITED STATES DISTRICT COURT

3                           EASTERN DISTRICT OF CALIFORNIA

4

5    UNITED STATES OF AMERICA,                No.     2:14-cr-00169-GEB-3
6                    Plaintiff,
7           v.                                ORDER
8    HARJIT KAUR JOHAL,
9                    Defendant.
10

11               On April 5, 2017, following the jury trial in this

12   action, Defendant Harjit Kaur Johal (“Johal”) filed a motion for

13   judgment of acquittal, or in the alternative, for a new trial.

14   Def.'s Mot., ECF No. 228.            Further, Johal included argument in

15   her reply brief arguments that were not included in her motion.

16   Those arguments are disregarded.            See generally, Eberle v. City

17   of    Anaheim    901   F.2d   814,    818   (9th    Cir.    1990)(citation      and

18   quotations omitted) (“It is well established in this circuit that

19   “the general rule is that [a party] cannot raise a new issue for

20   the first time in [her] reply brief[].”).

21               Johal was convicted of Count Seven in the Superseding

22   Indictment for having made false declarations to a grand jury in

23   violation of 18 U.S.C. § 1623; specifically, “while under oath

24   and testifying before [a] Grand Jury . . . [Johal] knowingly made

25   false [declarations that she] worked picking peaches for Mohammad

26   Riaz Kahn (a.k.a “Ray Khan”) . . . since 2013” and that she did

27   not   purchase    paystubs    from    Ray   Khan.        Superseding   Indictment

28   (“Superseding     Indictment”)       6:7-7:18,     ECF   No.   91.     The   United
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1    States of America (the “Government”) opposes the motion.                       Opp’n

2    to Mot., ECF No. 229; Response to Def.’s Reply, ECF No. 231.

3                  “A motion for Judgment of Acquittal is reviewed on a

4    sufficiency-of-the-evidence standard.”                  United States v. Graf,

5    610 F.3d 1148, 1166 (9th Cir. 2010) (citation omitted).                           The

6    Ninth    Circuit     explains   that   under     this    standard    the   district

7    court determines:

8                  [W]hether “after viewing the evidence in the
                   light most favorable to the prosecution, any
9                  rational trier of fact could have found the
                   essential elements of the crime beyond a
10                 reasonable doubt.” . . . [A] two-step inquiry
                   [is involved] for considering a challenge to
11                 a conviction based on sufficiency of the
                   evidence. First, a reviewing court must
12                 consider the evidence presented at trial in
                   the light most favorable to the prosecution
13                 . . . .   Second, after viewing the evidence
                   in   the   light   most   favorable   to  the
14                 prosecution,   the    reviewing   court  must
                   determine whether this evidence, so viewed,
15                 is adequate to allow “any rational trier of
                   fact [to find] the essential elements of the
16                 crime beyond a reasonable doubt.” This second
                   step protects against rare occasions in which
17                 “a properly instructed jury may . . . convict
                   even when it can be said that no rational
18                 trier of fact could find guilt beyond a
                   reasonable doubt.”
19
     United      States   v.   Nevils,   598       F.3d   1158,    1163–64   (9th     Cir.
20
     2010)(en banc)(citations omitted).
21
                   In viewing the evidence in a light most favorable to
22
     the Government, the Government presented sufficient evidence to
23
     allow a rational trier of fact to find beyond a reasonable doubt
24
     that Johal knowingly gave the following false testimony before
25
     the grand jury, in violation of 18 U.S.C. § 1623: that she worked
26
     for   Ray    Khan    picking    peaches   in    2013    and   that   she   did   not
27
     purchase paystubs from Ray Khan.               Therefore, this portion of the
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                                               2
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1    motion is denied.

2                 Johal argues in the alternative that she should be

3    granted a new trial.      Rule 33(a) of the Federal Rules of Criminal

4    Procedure is applicable to this portion of the motion and it

5    prescribes: “Upon the defendant's motion, the court may vacate

6    any judgment and grant a new trial if the interest of justice so

7    requires.”    The Ninth Circuit explains this standard in United

8    States v. Alston, 974 F.2d 1206, 1211 (citations omitted), as

9    follows:

10              A district court’s power to grant a motion
                for a new trial is much broader than its
11              power to grant a motion for judgment of
                acquittal. “The district court need not view
12              the evidence in the light most favorable to
                the verdict; it may weigh the evidence and in
13              so doing evaluate for itself the credibility
                of the witnesses.” “If the court concludes
14              that, despite the abstract sufficiency of the
                evidence to sustain the verdict, the evidence
15              preponderates sufficiently heavily against
                the verdict that a serious miscarriage of
16              justice may have occurred, it may set aside
                the verdict, grant a new trial, and submit
17              the issues for determination by another
                jury.”
18
                Johal has not shown that the “evidence preponderates
19
     sufficiently heavily against the verdict” and “that a serious
20
     miscarriage of justice may have occurred.”          Id.   Therefore, this
21
     portion of the motion is also denied.
22
                For the stated reasons, Johal’s Motion for Judgment of
23
     Acquittal, or in the Alternative, for a New Trial is denied; and
24
     the scheduled April 28, 2017 hearing on the motion is vacated.
25
     Dated:   April 26, 2017
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27

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